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  15                        UNITED STATES DISTRICT COURT
  16          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 PARAMOUNT PICTURES                       Case No. 2:19-cv-1156
     CORPORATION; COLUMBIA
  19 PICTURES INDUSTRIES, INC.;
     DISNEY ENTERPRISES, INC.;                STIPULATED PROTECTIVE
  20 TWENTIETH CENTURY FOX FILM               ORDER
     CORPORATION; WARNER BROS.
  21 ENTERTAINMENT INC.;
     UNIVERSAL CITY STUDIOS                   Judge: Hon. Dolly M. Gee
  22 PRODUCTIONS LLLP; UNIVERSAL
     TELEVISION LLC; and UNIVERSAL            Magistrate: Hon. Patrick J. Walsh
  23 CONTENT PRODUCTIONS LLC,
  24              Plaintiffs,
  25        vs.
  26 OMNIVERSE ONE WORLD
     TELEVISION, INC.; JASON M.
  27 DEMEO,
  28              Defendants.

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   1         1.    PURPOSES AND LIMITATIONS
   2         Discovery in this action is likely to involve production of confidential,
   3 proprietary, or private information for which special protection from public
   4 disclosure and from use for any purpose other than prosecuting this litigation may
   5 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
   6 enter the following Stipulated Protective Order. The parties acknowledge that this
   7 Order does not confer blanket protections on all disclosures or responses to
   8 discovery and that the protection it affords from public disclosure and use extends
   9 only to the limited information or items that are entitled to confidential treatment
  10 under the applicable legal principles. The parties further acknowledge, as set forth in
  11 Section 13.3, below, that this Stipulated Protective Order does not entitle them to
  12 file confidential information under seal; Civil Local Rule 79-5 sets forth the
  13 procedures that must be followed and the standards that will be applied when a party
  14 seeks permission from the court to file material under seal.
  15         2.    GOOD CAUSE STATEMENT
  16         This action is likely to involve trade secrets, customer and pricing information
  17 or other valuable research, development, commercial, financial, technical and/or
  18 proprietary information for which special protection from public disclosure and
  19 from use for any purpose other than prosecution of this action is warranted. Such
  20 confidential and proprietary materials and information consist of, among other
  21 things, confidential business or financial information, information regarding
  22 confidential business practices, or other confidential research, development, or
  23 commercial information (including information implicating privacy rights of third
  24 parties), information otherwise generally unavailable to the public, or which may be
  25 privileged or otherwise protected from disclosure under state or federal statutes,
  26 court rules, case decisions, or common law. Accordingly, to expedite the flow of
  27 information, to facilitate the prompt resolution of disputes over confidentiality of
  28 discovery materials, to adequately protect information the parties are entitled to keep

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   1 confidential, to ensure that the parties are permitted reasonable necessary uses of
   2 such material in preparation for and in the conduct of trial, to address their handling
   3 at the end of the litigation, and serve the ends of justice, a protective order for such
   4 information is justified in this matter. It is the intent of the parties that information
   5 will not be designated as confidential for tactical reasons and that nothing be so
   6 designated without a good faith belief that it has been maintained in a confidential,
   7 non-public manner, and there is good cause why it should not be part of the public
   8 record of this case.
   9         3.     DEFINITIONS
  10         3.1.   Action: Paramount Pictures Corporation, et al. v. Omniverse One
  11 World Television LLC, et al.
  12         3.2.   Challenging Party: a Party or Non-Party that challenges the designation
  13 of information or items under this Order.
  14         3.3.   “CONFIDENTIAL” Information or Items: information (regardless of
  15 how it is generated, stored or maintained) or tangible things that qualify for
  16 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  17 the Good Cause Statement.
  18         3.4.   “CONFIDENTIAL - ATTORNEYS EYES ONLY”: CONFIDENTIAL
  19 information or items, access to which is restricted to Counsel.
  20         3.5.   Counsel: Outside Counsel of Record and designated and approved
  21 House Counsel only approved in advance and in writing (as well as their support
  22 staff, such as paralegals and assistants).
  23         3.6.   Designating Party: a Party or Non-Party that designates information or
  24 items that it produces in disclosures or in responses to discovery as
  25 “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS EYES ONLY.”
  26         3.7.   Disclosure or Discovery Material: all items or information, regardless
  27 of the medium or manner in which it is generated, stored, or maintained (including,
  28

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   1 among other things, testimony, transcripts, and tangible things), that are produced or
   2 generated in disclosures or responses to discovery in this matter.
   3         3.8.   Expert: a person with specialized knowledge or experience in a matter
   4 pertinent to the litigation who has been retained by a Party or its counsel to serve as
   5 an expert witness or as a consultant in this Action.
   6         3.9.   House Counsel: attorneys who are employees of a party to this Action
   7 and do not work as patent attorneys or licensing attorneys. For Plaintiffs, House
   8 Counsel may also include two attorneys from the MPAA and two professionals
   9 working in content protection. House Counsel does not include Outside Counsel of
  10 Record or any other outside counsel. House Counsel must be disclosed to the
  11 opposing party and approved in writing, which approval shall not be unreasonably
  12 withheld.
  13         3.10. Non-Party: any natural person, partnership, corporation, association, or
  14 other legal entity not named as a Party to this action.
  15         3.11. Outside Counsel of Record: attorneys who are not employees of a party
  16 to this Action but are retained to represent or advise a party to this Action and have
  17 appeared in this Action on behalf of that party or are affiliated with a law firm which
  18 has appeared on behalf of that party, and includes support staff.
  19         3.12. Party: any party to this Action, including all of its officers, directors,
  20 employees, consultants, retained experts, and Outside Counsel of Record (and their
  21 support staffs).
  22         3.13. Producing Party: a Party or Non-Party that produces Disclosure or
  23 Discovery Material in this Action.
  24         3.14. Professional Vendors: persons or entities that provide litigation support
  25 services (e.g., photocopying, videotaping, translating, preparing exhibits or
  26 demonstrations, and organizing, storing, or retrieving data in any form or medium)
  27 and their employees and subcontractors.
  28

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   1         3.15. Protected Material: any Disclosure or Discovery Material that is
   2 designated as “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS EYES
   3 ONLY.”
   4         3.16. Receiving Party: a Party that receives Disclosure or Discovery Material
   5 from a Producing Party.
   6         4.     SCOPE
   7         The protections conferred by this Stipulation and Order cover not only
   8 Protected Material (as defined above), but also (1) any information copied or
   9 extracted from Protected Material; (2) all copies, excerpts, summaries, or
  10 compilations of Protected Material; and (3) any testimony, conversations, or
  11 presentations by Parties or their Counsel that might reveal Protected Material.
  12         Any use of Protected Material at trial shall be governed by the orders of the
  13 trial judge. This Order does not govern the use of Protected Material at trial.
  14         5.     DURATION
  15         Even after final disposition of this litigation, the confidentiality obligations
  16 imposed by this Order shall remain in effect until a Designating Party agrees
  17 otherwise in writing or a court order otherwise directs. Final disposition shall be
  18 deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  19 or without prejudice; and (2) final judgment herein after the completion and
  20 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  21 including the time limits for filing any motions or applications for extension of time
  22 pursuant to applicable law.
  23         6.     DESIGNATING PROTECTED MATERIAL
  24         6.1.   Exercise of Restraint and Care in Designating Material for Protection.
  25 Each Party or Non-Party that designates information or items for protection under
  26 this Order must take care to limit any such designation to specific material that
  27 qualifies under the appropriate standards. The Designating Party must designate for
  28 protection only those parts of material, documents, items, or oral or written

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   1 communications that qualify so that other portions of the material, documents,
   2 items, or communications for which protection is not warranted are not swept
   3 unjustifiably within the ambit of this Order.
   4         Mass, indiscriminate, or routinized designations are prohibited. Designations
   5 that are shown to be clearly unjustified or that have been made for an improper
   6 purpose (e.g., to unnecessarily encumber the case development process or to impose
   7 unnecessary expenses and burdens on other parties) may expose the Designating
   8 Party to sanctions.
   9         If it comes to a Designating Party’s attention that information or items that it
  10 designated for protection do not qualify for protection, that Designating Party must
  11 promptly notify all other Parties that it is withdrawing the inapplicable designation.
  12         6.2.   Manner and Timing of Designations. Except as otherwise provided in
  13 this Order (see, e.g., second paragraph of section 6.2(a) below), or as otherwise
  14 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  15 under this Order must be clearly so designated before the material is disclosed or
  16 produced.
  17         Designation in conformity with this Order requires:
  18         (a)    for information in documentary form (e.g., paper or electronic
  19 documents, but excluding transcripts of depositions or other pretrial or trial
  20 proceedings), that the Producing Party affix at a minimum, the legend
  21 “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS EYES ONLY”
  22 (collectively hereinafter “CONFIDENTIAL legend”), to each page that contains
  23 protected material. If only a portion or portions of the material on a page qualifies
  24 for protection, the Producing Party also must clearly identify the protected portion(s)
  25 (e.g., by making appropriate markings in the margins).
  26         A Party or Non-Party that makes original documents available for inspection
  27 need not designate them for protection until after the inspecting Party has indicated
  28 which documents it would like copied and produced. During the inspection and

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   1 before the designation, all of the material made available for inspection shall be
   2 deemed “CONFIDENTIAL - ATTORNEYS EYES ONLY.” After the inspecting
   3 Party has identified the documents it wants copied and produced, the Producing
   4 Party must determine which documents, or portions thereof, qualify for protection
   5 under this Order. Then, before producing the specified documents, the Producing
   6 Party must affix the “CONFIDENTIAL legend” to each page that contains Protected
   7 Material. If only a portion or portions of the material on a page qualifies for
   8 protection, the Producing Party also must clearly identify the protected portion(s)
   9 (e.g., by making appropriate markings in the margins).
  10         (b)    for testimony given in depositions that the Designating Party identify
  11 the Disclosure or Discovery Material on the record, before the close of the
  12 deposition all protected testimony.
  13         (c)    for information produced in some form other than documentary and for
  14 any other tangible items, that the Producing Party affix the “CONFIDENTIAL”
  15 legend in a prominent place on the exterior of the container or containers in which
  16 the information is stored. If only a portion or portions of the information warrants
  17 protection, the Producing Party, to the extent practicable, shall identify the protected
  18 portion(s).
  19         6.3.   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  20 failure to designate qualified information or items does not, standing alone, waive
  21 the Designating Party’s right to secure protection under this Order for such material.
  22 Upon timely correction of a designation, the Receiving Party must make reasonable
  23 efforts to assure that the material is treated in accordance with the provisions of this
  24 Order.
  25         7.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
  26         7.1.   Timing of Challenges. Any Party or Non-Party may challenge a
  27 designation of confidentiality at any time that is consistent with the Court’s
  28 Scheduling Order. Confidential licenses of a Party, however, and agreements that

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    1 are directly related to a confidential license of a party shall be presumed
    2 confidential.
    3         7.2.    Meet and Confer. The Challenging Party shall initiate the dispute
    4 resolution process under Local Rule 37.1 et seq.
    5         7.3.    The burden of persuasion in any such challenge proceeding shall be on
    6 the Designating Party. Frivolous challenges, and those made for an improper
    7 purpose (e.g., to harass or impose unnecessary expenses and burdens on other
    8 parties) may expose the Challenging Party to sanctions. Unless the Designating
    9 Party has waived or withdrawn the confidentiality designation, all parties shall
   10 continue to afford the material in question the level of protection to which it is
   11 entitled under the Producing Party’s designation until the Court rules on the
   12 challenge.
   13         8.      ACCESS TO AND USE OF PROTECTED MATERIAL
   14         8.1.    Basic Principles. A Receiving Party may use Protected Material that is
   15 disclosed or produced by another Party or by a Non-Party in connection with this
   16 Action only for prosecuting, defending, or attempting to settle this Action. Such
   17 Protected Material may be disclosed only to the categories of persons and under the
   18 conditions described in this Order. When the Action has been terminated, a
   19 Receiving Party must comply with the provisions of section 13 below (FINAL
   20 DISPOSITION).
   21         Protected Material must be stored and maintained by a Receiving Party at a
   22 location and in a secure manner that ensures that access is limited to the persons
   23 authorized under this Order.
   24         8.2.    Disclosure of “CONFIDENTIAL” Information or Items. Unless
   25 otherwise ordered by the court or permitted in writing by the Designating Party, a
   26 Receiving Party may disclose any information or item designated
   27 “CONFIDENTIAL” only to:
   28

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    1        (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well
    2 as employees of said Outside Counsel of Record to whom it is reasonably necessary
    3 to disclose the information for this Action, and for Plaintiffs, certain attorney and
    4 content protection employees of the MPAA, as previously disclosed to Defendants;
    5        (b)    the officers, directors, and employees (including approved House
    6 Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this
    7 Action;
    8        (c)    Experts (as defined in this Order) of the Receiving Party to whom
    9 disclosure is reasonably necessary for this Action and who have signed the
   10 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   11        (d)    the court and its personnel;
   12        (e)    court reporters and their staff;
   13        (f)    professional jury or trial consultants, mock jurors, and Professional
   14 Vendors to whom disclosure is reasonably necessary for this Action and who have
   15 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   16        (g)    the author or recipient of a document containing the information or a
   17 custodian or other person who otherwise possessed or knew the information;
   18        (h)    during their depositions, witnesses, and attorneys for witnesses, in the
   19 Action to whom disclosure is reasonably necessary provided: (1) the deposing party
   20 requests that the witness sign the form attached as Exhibit A hereto; and (2) they
   21 will not be permitted to keep any confidential information unless they sign the
   22 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
   23 agreed by the Designating Party or ordered by the court. Pages of transcribed
   24 deposition testimony or exhibits to depositions that reveal Protected Material may
   25 be separately bound by the court reporter and may not be disclosed to anyone except
   26 as permitted under this Stipulated Protective Order; and
   27        (i)    any mediator or settlement officer, and their supporting personnel,
   28 mutually agreed upon by any of the parties engaged in settlement discussions.

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    1        8.3.   Disclosure of “CONFIDENTIAL - ATTORNEYS EYES ONLY”
    2 Information or Items. Unless otherwise ordered by the court or permitted in writing
    3 by the Designating Party, a Receiving Party may disclose any information or item
    4 designated “CONFIDENTIAL - ATTORNEYS EYES ONLY” only to:
    5        (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well
    6 as employees of said Outside Counsel of Record to whom it is reasonably necessary
    7 to disclose the information for this Action;
    8        (b)    Approved House Counsel of the Receiving Party to whom disclosure
    9 has been stipulated to in advance and in writing ;
   10        (c)    Experts (as defined in this Order) of the Receiving Party to whom
   11 disclosure is reasonably necessary for this Action and who have signed the
   12 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   13        (d)    the court and its personnel (under seal);
   14        (e)    court reporters and their staff;
   15        (f)    professional jury or trial consultants, mock jurors, and Professional
   16 Vendors to whom disclosure is reasonably necessary for this Action and who have
   17 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   18        (g)    the author or recipient of a document containing the information or a
   19 custodian or other person who otherwise possessed or knew the information; and
   20        (h)    any mediator or settlement officer, and their supporting personnel,
   21 mutually agreed upon by any of the parties engaged in settlement discussions.
   22        9.     PROTECTED MATERIAL SUBPOENAED OR ORDERED
   23 PRODUCED IN OTHER LITIGATION
   24        If a Party is served with a subpoena or a court order issued in other litigation
   25 that compels disclosure of any information or items designated in this Action as
   26 “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS EYES ONLY,” that
   27 Party must:
   28

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    1        (a)    promptly notify in writing the Designating Party. Such notification
    2 shall include a copy of the subpoena or court order;
    3        (b)    promptly notify in writing the party who caused the subpoena or order
    4 to issue in the other litigation that some or all of the material covered by the
    5 subpoena or order is subject to this Protective Order. Such notification shall include
    6 a copy of this Stipulated Protective Order; and
    7        (c)    cooperate with respect to all reasonable procedures sought to be
    8 pursued by the Designating Party whose Protected Material may be affected.
    9        If the Designating Party timely seeks a protective order, the Party served with
   10 the subpoena or court order shall not produce any information designated in this
   11 action as “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS EYES
   12 ONLY” before a determination by the court from which the subpoena or order
   13 issued, unless the Party has obtained the Designating Party’s permission. The
   14 Designating Party shall bear the burden and expense of seeking protection in that
   15 court of its confidential material and nothing in these provisions should be construed
   16 as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
   17 directive from another court.
   18        10.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   19 PRODUCED IN THIS LITIGATION
   20        (a)    The terms of this Order are applicable to information produced by a
   21 Non- Party in this Action and designated as “CONFIDENTIAL” or
   22 “CONFIDENTIAL - ATTORNEYS EYES ONLY.” Such information produced by
   23 Non-Parties in connection with this litigation is protected by the remedies and relief
   24 provided by this Order. Nothing in these provisions should be construed as
   25 prohibiting a Non-Party from seeking additional protections.
   26        (b)    In the event that a Party is required, by a valid discovery request, to
   27 produce a Non-Party’s confidential information in its possession, and the Party is
   28

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    1 subject to an agreement with the Non-Party not to produce the Non-Party’s
    2 confidential information, then the Party shall:
    3               (i)     promptly notify in writing the Requesting Party and the Non-
    4 Party that some or all of the information requested is subject to a confidentiality
    5 agreement with a Non- Party;
    6               (ii)    promptly provide the Non-Party with a copy of the Stipulated
    7 Protective Order in this Action, the relevant discovery request(s), and a reasonably
    8 specific description of the information requested; and
    9               (iii)   make the information requested available for inspection by the
   10 Non-Party, if requested.
   11         (c)   If the Non-Party fails to seek a protective order from this court within
   12 14 days of receiving the notice and accompanying information, the Receiving Party
   13 may produce the Non-Party’s confidential information responsive to the discovery
   14 request. If the Non-Party timely seeks a protective order, the Receiving Party shall
   15 not produce any information in its possession or control that is subject to the
   16 confidentiality agreement with the Non-Party before a determination by the court.
   17 Absent a court order to the contrary, the Non-Party shall bear the burden and
   18 expense of seeking protection in this court of its Protected Material.
   19         11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   20         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   21 Protected Material to any person or in any circumstance not authorized under this
   22 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
   23 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
   24 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
   25 persons to whom unauthorized disclosures were made of all the terms of this Order,
   26 and (d) request such person or persons to execute the “Acknowledgment and
   27 Agreement to Be Bound” that is attached hereto as Exhibit A.
   28

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    1         12.     INADVERTENT PRODUCTION OF PRIVILEGED OR
    2 OTHERWISE PROTECTED MATERIAL
    3         When a Producing Party gives notice to Receiving Parties that certain
    4 inadvertently produced material is subject to a claim of privilege or other protection,
    5 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
    6 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
    7 may be established in an e- discovery order that provides for production without
    8 prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar
    9 as the parties reach an agreement on the effect of disclosure of a communication or
   10 information covered by the attorney-client privilege or work product protection, the
   11 parties may incorporate their agreement in the stipulated protective order submitted
   12 to the court.
   13         13.     MISCELLANEOUS
   14         13.1. Right to Further Relief. Nothing in this Order abridges the right of any
   15 person to seek its modification by the Court in the future.
   16         13.2. Right to Assert Other Objections. By stipulating to the entry of this
   17 Protective Order no Party waives any right it otherwise would have to object to
   18 disclosing or producing any information or item on any ground not addressed in this
   19 Stipulated Protective Order. Similarly, no Party waives any right to object on any
   20 ground to use in evidence of any of the material covered by this Protective Order.
   21         13.3. Filing Protected Material. A Party that seeks to file under seal any
   22 Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   23 only be filed under seal pursuant to a court order authorizing the sealing of the
   24 specific Protected Material at issue. If a Party’s request to file Protected Material
   25 under seal is denied by the court, then the Receiving Party may file the information
   26 in the public record unless otherwise instructed by the court.
   27
   28

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    1         14.   FINAL DISPOSITION
    2         After the final disposition of this Action, as defined in paragraph 5, within 60
    3 days of a written request by the Designating Party, each Receiving Party must return
    4 all Protected Material to the Producing Party or destroy such material. As used in
    5 this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
    6 summaries, and any other format reproducing or capturing any of the Protected
    7 Material. Whether the Protected Material is returned or destroyed, the Receiving
    8 Party must submit a written certification to the Producing Party (and, if not the same
    9 person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
   10 (by category, where appropriate) all the Protected Material that was returned or
   11 destroyed and (2)affirms that the Receiving Party has not retained any copies,
   12 abstracts, compilations, summaries or any other format reproducing or capturing any
   13 of the Protected Material. Notwithstanding this provision, Counsel are entitled to
   14 retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
   15 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
   16 reports, attorney work product, and consultant and expert work product, even if such
   17 materials contain Protected Material. Any such archival copies that contain or
   18 constitute Protected Material remain subject to this Protective Order as set forth in
   19 Section 5 (DURATION).
   20         15.   Any violation of this Order may be punished by any and all appropriate
   21 measures including, without limitation, contempt proceedings and/or monetary
   22 sanctions.
   23
   24         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   25
   26
   27
   28

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    1                                            MUNGER, TOLLES & OLSON LLP
    2
    3 DATED: March 21, 2019             By:          /s/ Glenn D. Pomerantz
    4                                                        Glenn D. Pomerantz
                                                            Attorneys for Plaintiffs
    5
    6
    7                                                    TROJAN LAW OFFICES

    8
    9 DATED: March 21, 2019             By:          /s/ R. Joseph Trojan
                                                               R. Joseph Trojan
   10                                                      Attorneys for Defendants
   11
   12
             FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   13
   14 DATED: ___________, 2019          By:
                                                           Hon. Patrick J. Walsh
   15
                                                       United States Magistrate Judge
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                                STIPULATED PROTECTIVE ORDER
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    1                               FILER’S ATTESTATION
    2        Pursuant to L.R. 5-4.3.4(a)(2), I, Glenn D. Pomerantz, certify that that all
    3 other signatories listed, and on whose behalf the filing is submitted, concur in this
    4 filing’s content and have authorized this filing.
    5
    6                                                MUNGER, TOLLES & OLSON LLP
    7
    8 DATED: March 21, 2019                 By:          /s/ Glenn D. Pomerantz
    9                                                            Glenn D. Pomerantz
                                                                Attorneys for Plaintiffs
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                                   STIPULATED PROTECTIVE ORDER
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    1                                        EXHIBIT A
    2
    3           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    4         I, [print or type full name], of [print or type full address], declare under
    5 penalty of perjury that I have read in its entirety and understand the Stipulated
    6 Protective Order that was issued by the United States District Court for the Central
    7 District of California on [insert date] in the case of [insert formal name of the case
    8 and the number and initials assigned to it by the court]. I agree to comply with and
    9 to be bound by all the terms of this Stipulated Protective Order and I understand and
   10 acknowledge that failure to so comply could expose me to sanctions and punishment
   11 in the nature of contempt. I solemnly promise that I will not disclose in any manner
   12 any information or item that is subject to this Stipulated Protective Order to any
   13 person or entity except in strict compliance with the provisions of this Order.
   14         I further agree to submit to the jurisdiction of the United States District Court
   15 for the Central District of California for the purpose of enforcing the terms of this
   16 Stipulated Protective Order, even if such enforcement proceedings occur after
   17 termination of this action. I hereby appoint [print or type full name] of [print or type
   18 full address and telephone number] as my California agent for service of process in
   19 connection with this action or any proceedings related to enforcement of this
   20 Stipulated Protective Order.
   21         Date:
   22         City and State where sworn and signed:
   23         Printed name:
   24         Signature:
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                                     STIPULATED PROTECTIVE ORDER
